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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:14-CR-00083 GEB
12                                Plaintiff,            STIPULATION REGARDING COMPETENCY
                                                        PROCEEDINGS FOR DEFENDANT ALEKSANDR
13                          v.                          MASLOV AND EXCLUDABLE TIME UNDER
                                                        THE SPEEDY TRIAL ACT; [PROPOSED] ORDER
14   ALEKSANDR MASLOV,
15                               Defendant.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant

19 Aleksandr Maslov, by and through defendant’s counsel of record, hereby stipulate as follows:

20          1.     On January 19, 2017, defense counsel produced by email to the United States a summary

21 report by Barbara E. McDermott, PhD, of the University of California, Davis Department of Psychiatry

22 (herein, the “summary report”). The summary report described an examination of the defendant for

23 purposes of determining whether he had intellectual deficits and/or learning disabilities that might

24 impair his ability to understand the charges and proceedings against him. The summary report was filed

25 under seal at defendant’s request. See ECF No. 169.

26          2.     The summary report’s preliminary conclusions raised for the parties “reasonable cause to

27 believe that the defendant may presently be suffering from a mental disease or defect rendering him

28 mentally incompetent to the extent that he is unable to understand the nature and consequences of the

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 1 proceedings against him or to assist properly in his defense.” 18 U.S.C. § 4241(a). Accordingly, on

 2 January 24, 2017, this Court ordered that the defendant be severed from his co-defendants in Case No.

 3 2:14-CR-00083, in order to undergo competency evaluation. See ECF No. 150.

 4          3.       On February 23, 2017, pursuant to the parties’ stipulation and proposed order, this Court

 5 ordered the defendant committed to the custody of the Federal Bureau of Prisons (“BOP”) for a period

 6 of 30 days to undergo competency evaluation. See ECF No. 177.

 7          4.       On March 30, 2017, the defendant self-surrendered to BOP at the Los Angeles

 8 Metropolitan Detention Center for evaluation. The evaluation was completed and the defendant was

 9 released on May 5, 2017; the resulting report was filed under seal. See ECF No. 198 (“BOP Report”).
10 In a publicly-filed letter to the Court, BOP summarized that “although there is evidence to indicate Mr.

11 Maslov may experience mild cognitive deficits, the signs or symptoms do not impair his present ability

12 to understand the nature and consequences of the court proceedings against him, or his ability to

13 properly assist counsel in his defense.” ECF No. 197. Moreover, BOP stated that “[d]uring the

14 competency portion of the evaluation, overall, he provided appropriate responses to the questions posed

15 to him,” and “did not appear to experience significant difficulties in communicating his thoughts to the

16 evaluator.” Id.

17          5.       On July 12, 2017, in response to the BOP report, Dr. McDermott completed a

18 supplemental report (“supplemental report”) at defense counsel’s request evaluating the defendant’s

19 competence in light of the BOP Report’s conclusion. The supplemental report is being filed under seal

20 concurrently to this stipulation and proposed order. In the supplemental report, Dr. McDermott
21 concurred with the BOP Report’s conclusion, stating, inter alia, that “Dr. Shelton [of BOP] was of the

22 opinion that Mr. Maslov was competent to stand trial and I concurred with that opinion at the time of my

23 initial evaluation.” Supplemental Report at 3.

24          6.       Because all experts have concluded that the defendant is competent to stand trial, the

25 parties have concluded that an evidentiary hearing as to competence would be unnecessary and

26 uncontested. The parties wish to obviate the need for such a hearing and proceed henceforth with setting
27 trial dates. In so doing, the defendant understands that he is waiving his right to a hearing under 18

28 U.S.C. § 4247(d), which includes waiving his “opportunity to testify, to present evidence, to subpoena

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 1 witnesses on his behalf, and to confront and cross-examine witnesses who appear at the hearing.” Id.

 2 Undersigned defense counsel represents that he has advised the defendant of these rights, as well as the

 3 contents of the evaluation reports conducted to date. Defense counsel further represents that he has

 4 discussed the waiver of the § 4247(d) competency hearing and that the defendant has agreed to give up

 5 the rights enumerated in the statute and associated case law, as he concurs in the unanimous expert

 6 opinions that he is indeed competent to stand trial.

 7          7.      Accordingly, the parties jointly request that this Court (1) find the defendant “able to

 8 understand the nature and consequences of the proceedings against him and to assist properly in his

 9 defense,” 18 U.S.C. § 4241, and therefore competent to stand trial, on the basis of the unanimous
10 conclusions of evaluating experts and the parties stipulation, (2) vacate the currently scheduled

11 competency status hearing set for November 17, 2017, and (3) set a status hearing for December 15,

12 2017, at which the parties anticipate seeking trial dates.

13          8.      Time has previously been excluded in this matter under the Speedy Trial Act through

14 November 17, 2017, pursuant to 18 U.S.C.§§ 3161(h)(7)(A), B(iv) [Local Code T4] and 3161(h)(1)(A)

15 [Local Code A]. Given the conclusion of competency proceedings, no further exclusion of time under

16 Local Code A is applicable. Instead, the parties hereby jointly request that this Court order further time

17 excluded between the date of this Order and the contemplated December 15, 2017, status conference

18 pursuant to Local Code T4, as defense counsel is diligently preparing for trial in this case. The

19 discovery in this case is voluminous and complex, and defense counsel is reviewing additional records

20 from co-defendant Melkonyan’s February 2017 trial, justifying continued exclusion under Local Code
21 T4. Defense counsel continues to conduct legal and factual research related to preparing for trial with

22 adequate diligence, and therefore an exclusion of time is appropriate, as the ends of justice served by

23 taking such action outweigh the best interest of the public and defendant in a speedy trial.

24          9.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

25 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

26 must commence.
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 1         IT IS SO STIPULATED.

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     Dated: October 19, 2017                      PHILLIP A. TALBERT
 3                                                United States Attorney
 4
                                                  /s/ MATTHEW M. YELOVICH
 5                                                MICHAEL D. ANDERSON
                                                  MATTHEW M. YELOVICH
 6                                                Assistant United States Attorneys
 7
     Dated: October 19, 2017                      /s/ ROBERT WILSON
 8                                                ROBERT WILSON
 9                                                Counsel for Defendant
                                                  ALEKSANDR MASLOV
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 1                                 [PROPOSED] FINDINGS AND ORDER

 2          1.     This Court has reviewed the reports filed in these competency proceedings on February

 3 13, 2017, May 30, 2017, and October 19, 2017, analyzing the defendant’s mental health and

 4 competency, as well as the publicly-filed letter from the Bureau of Prisons of May 25, 2017, and the

 5 parties’ stipulation.

 6          2.     Consistent with all of these filings, the Court has determined and now finds, by a

 7 preponderance of the evidence, that (a) the defendant is able to understand the nature and consequences

 8 of the proceedings against him and to assist properly in his defense, and (b) the defendant is competent

 9 to stand trial. This Court makes such findings consistent with the Insanity Defense Reform Act of 1984,
10 18 U.S.C. §§ 4241–4248, and hereby vacates the evidentiary hearing previously contemplated as

11 unnecessary given the unanimous conclusions of all evaluating experts.

12          3.     The currently set competency status hearing on November 17, 2017, is hereby vacated,

13 and further status hearing for trial setting shall commence at 9:00 a.m. on December 15, 2017.

14          4.     Further, the Court has read and considered the parties’ request for excludable time under

15 the Speedy Trial Act. The Court hereby finds that the facts stated in the stipulation, which this Court

16 incorporates by reference into this Order, demonstrate good cause for a finding of excludable time

17 pursuant to the Speedy Trial Act, 18 U.S.C. § 3161. The Court further finds that the ends of justice

18 served by the continuance outweigh the best interest of the public and defendant in a speedy trial, and

19 failure to grant the continuance would deny defense counsel the reasonable time necessary for effective

20 preparation, taking into account the exercise of due diligence. Therefore, this Court orders that the time
21 period from the date of entry of this Order through December 15, 2017, inclusive, is excluded in

22 computing the time within which the trial must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), and

23 (B)(iv).

24          5.     Nothing in this Order shall preclude a finding that other provisions of the Speedy Trial

25 Act dictate that additional time periods are excluded from the period within which trial must commence.

26 Moreover, the same provisions and/or other provisions of the Speedy Trial Act may in the future
27 authorize the exclusion of additional time periods from the period within which trial must commence.

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 1   IT IS SO FOUND AND ORDERED.

 2   Dated: October 27, 2017

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